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UNITED STATES OF AMERICA,


                                                                           24-CR-542 (ALC)
                 -     v. -

SEAN COMBS,                                                                 ORDER

                                            Defendant.


                                                                     X
ANDREW L. CARTER, JR., District Judge:

         A Bail Appeal Hearing is set for September 18, 2024 at 2:00 p.m.

SO ORDERED.

Dated:               New York, New York
                     September 17, 2024




                                                     ~7~
                                                     ~~-                        JR.
                                                                             CARTER,
                                                                                     ·
                                                                                     'J.--
                                                      United States District Judge .
